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   7   ENTERTAINMENT INC. and STARZ
       ENTERTAINMENT, LLC
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  10
                          UNITED STATES DISTRICT COURT
  11
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
  12
  13   MARC ELLIOT,                         Case No. 2:21-cv-08206-JAK-DFM
  14                    Plaintiff,          Honorable John A. Kronstadt
            vs.
  15                                        NOTICE OF MOTION AND SPECIAL
       LIONS GATE FILMS INC., LIONS         MOTION TO STRIKE FIRST
  16   GATE ENTERTAINMENT INC. and          AMENDED COMPLAINT PURSUANT
       STARZ ENTERTAINMENT, LLC,            TO C.C.P. § 425.16
  17
                        Defendants.         Date: May 9, 2022
  18                                        Time: 8:30 a.m.
                                            Crtrm: 10B
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   1         TO THE HONORABLE COURT AND ALL PARTIES AND THEIR
   2   COUNSEL OF RECORD:
   3         PLEASE TAKE NOTICE that on Monday, May 9, 2022, at 8:30 a.m., or as
   4   soon thereafter as counsel may be heard in-person or virtually in Courtroom 10B, the
   5   Honorable John A. Kronstadt, presiding, located at 350 West First Street, Los
   6   Angeles, California 90012, defendants Lions Gate Films Inc., Lions Gate
   7   Entertainment Inc. and Starz Entertainment, LLC (“Starz”) (collectively,
   8   “Defendants”), and each of them individually, will and hereby do move this Court for
   9   an order dismissing the First Amended Complaint (“FAC”) filed by Plaintiff Marc
  10   Elliot (“Plaintiff”) pursuant to California Code of Civil Procedure § 425.16 (“Section
  11   425.16” or the “anti-SLAPP1 statute”), using the motion to dismiss standards of
  12   Federal Rule of Civil Procedure 12(b)(6), and striking each cause of action, in whole
  13   or in part, from the FAC with prejudice and without leave to amend.
  14         This Motion is made following a conference of counsel pursuant to Local
  15   Rule of Court 7-3 which took place on January 21, 2022.
  16         Each cause of action in the First Amended Complaint is based on Defendants’
  17   speech and alleged conduct in furtherance of speech in connection with matters of
  18   public interest, and each falls within the scope of Section 425.16(e). As such, the
  19   burden shifts to Plaintiff to establish a probability of prevailing on those claims.
  20   C.C.P. § 425.16(b)(1). Plaintiff cannot satisfy his burden as a matter of law.
  21   Plaintiff’s causes of action, and portions thereof, should be dismissed and stricken as
  22   a matter of law for the following reasons:
  23         •     The first cause of action for defamation per se and the second cause of
  24                action for defamation by implication each fail as a matter of law, in
  25                whole or in part, because:
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  27   1
        SLAPP is an acronym that stands for “Strategic Lawsuits Against Public
  28   Participation.”

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   1                o Defendants’ limited television series (the “Series”), which is the basis
   2                     for the FAC and is judicially noticeable, does not state, either
   3                     explicitly or by reasonable or clear implication, anything defamatory
   4                     about Plaintiff; and/or
   5                o The allegedly defamatory statements and implications are not
   6                     actionable because they do not convey verifiable statements of fact
   7                     but are instead constitutionally protected opinion and/or hyperbole.
   8         • Plaintiff’s third cause of action for appropriation of name or likeness, fourth
   9            cause of action for false light and fifth cause of action for intentional
  10            infliction of emotional distress each fail as a matter of law, in whole or in
  11            part, because:
  12                o They are duplicative of Plaintiff’s defamation claims and must be
  13                     dismissed;
  14                o They fail for the same reasons the defamation claims fail; and
  15                o The third cause of action for appropriation of name or likeness also
  16                     fails because Plaintiff’s name and image were used in an expressive
  17                     work (the Series) and not for an exclusively commercial purpose.
  18         This Motion is based on: this Notice; the attached Memorandum of Points and
  19   Authorities; the concurrently filed Request for Judicial Notice with Exhibits 1–6; the
  20   concurrently filed Lodging and Notice of Lodging of Exhibit 1; all pleadings and
  21   documents on file in this action; and such further judicially noticeable evidence or
  22   argument as may be presented at the hearing on this Motion.
  23         For these reasons, Defendants respectfully request that this Court dismiss and
  24   strike Plaintiff’s FAC, and each cause of action therein, with prejudice and without
  25   leave to amend.
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   1            Defendants also request that the Court enter an award of attorneys’ fees and
   2   costs pursuant to California Code of Civil Procedure § 425.16(c). 2
   3
           Dated: February 9, 2022
   4
   5                                                JASSY VICK CAROLAN LLP
   6                                                By:    /s/ Jean-Paul Jassy
                                                    Jean-Paul Jassy
   7
                                                    Attorneys for Defendants
   8                                                LIONS GATE FILMS INC., LIONS
                                                    GATE ENTERTAINMENT INC. and
   9                                                STARZ ENTERTAINMENT, LLC
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         If this Motion, or any part thereof, is granted, Defendants will file a noticed motion
  28   to recover attorneys’ fees and costs.

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   1   I.    INTRODUCTION
   2         Plaintiff Marc Elliot was and is a devotee of NXIVM, a “self-help”
   3   organization that has frequently been called “cult-like,” whose most senior leaders
   4   were recently convicted of serious federal crimes, including sex trafficking.
   5   Defendant Starz produced a four-part television documentary series about NXIVM,
   6   Seduced: Inside the NXIVM Cult (the “Series”), chronicling the group’s scams and
   7   nefarious activities, including those perpetrated by NXIVM founder Keith Raniere,
   8   who is currently serving a 120-year sentence in federal prison. Plaintiff, who touts
   9   his international fame, takes issue with 45 seconds out of the four-hour Series. The
  10   Series depicts him as one of NXIVM’s “success stories,” who, with NXIVM’s help,
  11   overcame Tourette Syndrome and then served as a NXIVM spokesperson.
  12         The Series uses experts and firsthand accounts to recount the profoundly
  13   damaging conduct of NXIVM, Raniere and other group leaders, but nowhere does the
  14   Series state or imply that Plaintiff – unlike other NXIVM leaders – engaged in any
  15   criminal or otherwise wrongful behavior. Nevertheless, Plaintiff alleges that because
  16   of the proximity of his fleeting portrayals to statements about NXIVM’s leaders,
  17   particularly Raniere, he, too, is portrayed badly. But none of the purportedly
  18   defamatory implications alleged by Plaintiff is reasonable or clear as a matter of law.
  19         Defendants move pursuant to California Code of Civil Procedure § 425.16, the
  20   anti-SLAPP statute, to dismiss Plaintiff’s First Amended Complaint and each of its
  21   claims. Defendants ask the Court to take judicial notice of the Series, certain court
  22   records and the existence of media reports, as the Court would do on a motion to
  23   dismiss. Defendants easily satisfy the first step in the anti-SLAPP analysis because
  24   each claim arises from Defendants’ speech on matters of public interest. The burden
  25   then shifts to Plaintiff to demonstrate a probability of prevailing on his claims, which
  26   he cannot satisfy as the Series makes no defamatory statements directly or by
  27   implication about Plaintiff. Even if there were such implications, they would all be
  28   protected speech. Plaintiff’s ancillary claims for false light, emotional distress and

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   1   appropriation of likeness likewise fail as a matter of law. As such, Defendants’ anti-
   2   SLAPP motion should be granted in full.
   3   II.   STATEMENT OF PERTINENT FACTS
   4         A.     The NXIVM Organization and Criminal Conviction of its
   5                Leadership.
   6         NXIVM was a purported self-help organization and the subject of a high-
   7   profile criminal prosecution in the Eastern District of New York for federal
   8   offenses, including sex trafficking, forced labor and racketeering. See U.S. v.
   9   Raniere, 384 F. Supp. 3d 282, 292 (E.D.N.Y. 2019). Prosecutors focused on a
  10   secret society under the NXIVM umbrella called DOS. Id. at 293. Keith Raniere,
  11   NXIVM’s leader, directed a hierarchy of women to engage in sex acts, manual
  12   labor, and skin branding in exchange for blackmail and other compensation. See
  13   id. The women recruited as “slaves” into DOS were active members of NXIVM.
  14   Id. In 2019, Raniere was convicted on all charges and sentenced to 120 years in
  15   prison. Request for Judicial Notice (“RJN”), Ex. 2 (docket report). Five other
  16   senior NXIVM members pleaded guilty and received varying sentences. See id.
  17         Prior to the revelations about DOS, NXIVM was known as a paid
  18   membership organization that offered “self-improvement” seminars. Keith
  19   Raniere and Nancy Salzman designed NXIVM’s curricula, outlined the
  20   organizational structure, and defined its ideology. See FAC ¶ 20. NXIVM’s entry-
  21   level Executive Success Programs (“ESP’s”) aimed to foster “emotional
  22   intelligence.” See FAC ¶ 21. Two separate training programs, JNESS Tracks and
  23   SOP, or “Society of Protectors,” examined gender roles, as viewed by Raniere.
  24   See FAC ¶¶ 41–44. Individuals who successfully completed different modules
  25   could climb the NXIVM hierarchy, eventually earning income from recruiting and
  26   the fees other members paid. See FAC ¶¶ 26, 27, 32.
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   1         B.     Public Interest in NXIVM.
   2         NXIVM and Raniere have long attracted public interest and media attention.
   3   Several prominent publications have conducted deep-dive investigations of
   4   Raniere and NXIVM over the years—Forbes in 2003, Vanity Fair in 2010, the
   5   New York Times in 2017—and the Albany Times Union extensively covered the
   6   Albany-based NXIVM for decades. RJN, Ex. 3. Following the New York Times’
   7   blockbuster exposé on women branded with a cauterizing pen, and thanks to the
   8   determination of actress Catherine Oxenberg (mother of former NXIVM member
   9   India Oxenberg), NXIVM and Raniere became the subject of a media frenzy
  10   starting in 2017. See, e.g., RJN, Ex. 4. Federal prosecutors filed suit and arrested
  11   Raniere in 2018, and the final NXIVM defendant was sentenced in late 2021. See
  12   RJN, Ex. 2 (docket report). The foregoing events generated broad media coverage,
  13   several podcasts, and at least two documentary television series, including,
  14   ultimately, the one at issue in this case. See, e.g., RJN, Exs. 1, 4.
  15         C.     Plaintiff’s Connection and Continued Dedication to NXIVM.
  16         Plaintiff Marc Elliot was a prominent and active member of NXIVM. FAC
  17   ¶¶ 22–37. Plaintiff first joined NXIVM in 2010 and claimed that NXIVM’s ESP
  18   trainings helped him overcome his symptoms of Tourette Syndrome. FAC ¶¶ 22–
  19   24. He rose through NXIVM’s ranks, becoming a coach, advancing to proctor, and
  20   earning his living through NXIVM. FAC ¶¶ 26, 27, 32. Starting in 2014, Plaintiff
  21   became a public face for what NXIVM’s trainings could accomplish, both within
  22   the group and in recruiting campaigns with the public. FAC ¶¶ 27–32.
  23         Instead of leaving NXIVM following the revelations in 2017 that Raniere
  24   had led a sex trafficking and forced labor ring, Plaintiff, through his own
  25   allegations and judicially noticeable material, continued to support NXIVM and
  26   added his voice to the controversy even after Raniere’s conviction. See FAC ¶¶
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   1   33–37; see also RJN, Ex. 2 [Dkt. 925] at 33–36 (Raniere sentencing memo); Ex. 5.3
   2         D.     Defendants’ Documentary Series About NXIVM and Raniere.
   3         Seduced: Inside the NXIVM Cult is a four-part documentary television series
   4   from Starz that examines the personal experience of India Oxenberg, a former
   5   member of NXIVM, who suffered abuse at the direction of Raniere. See FAC ¶
   6   38; RJN, Ex. 1. The Series features original audio and video recordings from
   7   NXIVM events, interviews with first-hand witnesses, news coverage of NXIVM
   8   and the criminal trial, commentary from outside experts opining about NXIVM,
   9   and clips illustrating the commentary. See RJN, Ex. 1; see also, e.g., FAC ¶¶ 46,
  10   47, 51. The experts mostly focus on the psychology and practices of cult-like
  11   groups, drawing parallels between NXIVM and other groups. See id.
  12         Plaintiff is only briefly featured in the Series, in Episodes One, Two, and
  13   Four. See id. He is not the focus of the Series. See id. 4 In Episode One, the
  14   documentary shows how ESP trainings opened with video testimonials from
  15   Plaintiff, touting how NXIVM and ESP help him beat Tourette’s. See RJN, Ex. 1,
  16   Ep. 1 at 10:07. In Episode Two, the Series shows various clips from NXIVM
  17   trainings and testimonials that include Plaintiff. See RJN, Ex. 1, Ep. 2 at 20:23–
  18   40:39; FAC ¶¶ 41–62. Episode Two also shows Plaintiff with Dr. Brandon Porter
  19   promoting the potential of NXIVM trainings to overcome neurological issues. The
  20   Series then covered Dr. Porter’s other work with NXIVM: conducting “fright
  21   experiments” where graphically violent videos were shown to women to track their
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         See also YouTube.com (Oct. 27, 2020), timestamp 1:23–2:23, https://www.youtube.
  23   com/watch?v=qlPI8ngi1TY (video of Plaintiff defending Raniere outside courthouse
       after the NXIVM leader was sentenced to 120 years in prison).
  24   4
         Episode One of the Series explores NXIVM’s recruitment strategies and how
  25   India Oxenberg became involved with the group. Episode Two explores
       NXIVM’s curriculum, ideology, and indoctrination. Episode Three delves into the
  26   practices of the DOS secret society and India Oxenberg’s personal experience as a
       “slave” to “master” actress Allison Mack under “grandmaster” Raniere. Episode
  27   Four covers the public reaction to Raniere’s criminal activities, Catherine
       Oxenberg’s efforts to rescue her daughter, and the trial and conviction of Raniere
  28   and NXIVM leadership. See RJN, Exs. 1, 4.

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   1   reactions. See id.
   2         Episode Four only briefly depicts Plaintiff in the epilogue. See RJN, Ex. 1,
   3   Ep. 4 at 1:18:17. The Series shows a short video featuring Plaintiff with other
   4   former NXIVM members dancing under Raniere’s prison window. Onscreen, a
   5   chyron identifies Plaintiff as “Marc Elliot NXIVM ‘Proctor.’” See id. Also in the
   6   epilogue, the Series notes that Dr. Brandon Porter had his medical license revoked.
   7   See id.; see also RJN, Ex. 6 (NY State license record). Plaintiff is neither depicted
   8   nor discussed in Episode Three or the parts of Episode Four that discuss NXIVM’s
   9   criminal conduct. See RJN, Ex. 1. Unlike other members of NXIVM, Plaintiff is
  10   not identified in the Series as having been criminally prosecuted. Id.
  11         E.     Plaintiff’s Allegations About the Series.
  12         Plaintiff takes issue with a total of 45 seconds of statements and purported
  13   implications in Episode Two of the Series. First, Plaintiff complains about the
  14   purported juxtaposition of his testimonial about NXIVM trainings on “how to relate
  15   to women” with Raniere’s vulgar statements about men’s “primitive” desires to
  16   “conquer” women. FAC ¶¶ 43–45. Second, Plaintiff alleges that commentary from
  17   cult experts Steven Hassan and Rick Ross discussing “coercive” tactics to “foster
  18   obedience,” referencing ISIS and Al-Qaeda, is defamatory because their commentary
  19   followed a brief segment when Plaintiff’s face was onscreen. FAC ¶¶ 46–50. Third,
  20   Plaintiff alleges that expert critiques of former Dr. Porter’s “fright experiments”
  21   defamed Plaintiff because the commentary continued while Plaintiff was briefly
  22   depicted onscreen with Porter. FAC ¶¶ 51–54. Plaintiff acknowledges that he
  23   worked with and promoted Porter through his campaign addressing Tourette
  24   syndrome. FAC ¶ 51. Fourth, Plaintiff alleges that a segment showing Plaintiff
  25   standing in the audience of various seminars with Raniere is defamatory because he
  26   was not standing while Raniere said the precise words spoken in that clip. FAC ¶¶
  27   55–66. Finally, Plaintiff takes issue with Ross’s opining on the violent actions that
  28   other cult-like groups have taken, and Plaintiff alleges that the Series makes it

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   1   “appear as if [Raniere] is giving Plaintiff specific instructions to kill someone
   2   specifically.” See id.
   3   III.   THE ANTI-SLAPP STATUTE APPLIES TO PLAINTIFF’S CLAIMS.
   4          A.    California’s Anti-SLAPP Statute Applies in Federal Court.
   5          The Ninth Circuit has made clear that California’s anti-SLAPP statute, C.C.P.
   6   § 425.16 (“Section 425.16”), applies in federal diversity cases with state law claims
   7   because the statute was “crafted to serve an interest not directly addressed by the
   8   Federal Rules: the protection of ‘the constitutional rights of freedom of speech and
   9   petition for redress of grievances.’” U.S. ex rel. Newsham v. Lockheed Missiles &
  10   Space Co., Inc., 190 F.3d 963, 972–73 (9th Cir. 1999); see also Herring Networks,
  11   Inc. v. Maddow, 8 F.4th 1148, 1155 (9th Cir. 2021). Plaintiff alleges that this Court
  12   has diversity jurisdiction and only alleges state law claims. See FAC ¶¶ 8, 70–129.
  13          B.    The Anti-SLAPP Statute Is Construed Broadly.
  14          The anti-SLAPP statute was enacted to check “a disturbing increase in lawsuits
  15   brought primarily to chill the valid exercise of the constitutional right of freedom of
  16   speech and petition,” and it is to be “construed broadly.” C.C.P. § 425.16(a). The
  17   law creates a “two-step process for determining” whether a cause of action should be
  18   stricken under Section 425.16. Varian Med. Sys., Inc. v. Delfino, 35 Cal. 4th 180,
  19   192 (2005); C.C.P. § 425.16(b)(1).
  20          In the first step, the court decides “whether the defendant has made a threshold
  21   showing that . . . the act or acts of which the plaintiff complains were taken ‘in
  22   furtherance of the [defendant]’s right of petition or free speech . . . in connection with
  23   a public issue.’” Equilon Enters. v. Consumer Cause, Inc., 29 Cal. 4th 53, 67 (2002);
  24   Herring Networks, 8 F.4th at 1155 (same). Subdivision (e) of the anti-SLAPP statute
  25   covers any “conduct in furtherance of the exercise of the constitutional right of
  26   petition or the constitutional right of free speech in connection with a public issue or
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   1   an issue of public interest.” C.C.P. § 425.16(e)(4). 5 “If the court determines that
   2   relief is sought based on allegations arising from activity protected by [Section
   3   425.16], the second step is reached.” Baral v. Schnitt, 1 Cal. 5th 376, 396 (2016).
   4         “If the defendant satisfies” the first step, “the burden then shifts to the plaintiff
   5   to establish a reasonable probability that it will prevail on its claim in order for that
   6   claim to survive dismissal.” Herring Networks, 8 F.4th at 1155 (cleaned up).6 “The
   7   district court must grant the defendant’s motion and dismiss the complaint if the
   8   plaintiff presents an insufficient legal basis for the claims or no reasonable jury could
   9   find for the plaintiff.” Herring Networks, 8 F.4th at 1155 (internal quotation marks
  10   omitted). The anti-SLAPP statute must be construed “broadly” to further the purpose
  11   of “allowing for early dismissal of meritless First Amendment cases aimed at chilling
  12   expression through costly, time-consuming litigation.” Id. (cleaned up).
  13   IV.   THE FIRST STEP IN THE ANTI-SLAPP ANALYSIS IS SATISFIED.
  14         A defendant need only show that its alleged conduct “fits one of the four
  15   categories spelled out in section 425.16, subdivision (e).” Navellier v. Sletten, 29
  16   Cal. 4th 82, 88 (2002) (emphasis added). The public interest requirement in Section
  17   425.16(e) must be “construed broadly so as to encourage participation by all
  18   segments of our society in vigorous public debate related to issues of public interest.”
  19   Gilbert v. Sykes, 147 Cal. App. 4th 13, 23 (2007). “[A]n issue of public interest”
  20   under Section 425.16(e) “is any issue in which the public is interested.” Nygård, Inc.
  21   v. Uusi-Kerttula, 159 Cal. App. 4th 1027, 1042 (2008). In determining whether an
  22   issue is a matter of public interest, courts may consider “whether the subject of the
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         The anti-SLAPP statute may be applied to the types of claims alleged by Plaintiff
       here. See, e.g., Jackson v. Mayweather, 10 Cal. App. 5th 1240, 1264–66 (2017)
  25   (applying anti-SLAPP statute to claims of defamation, false light and intentional
       infliction of emotional distress); Stewart v. Rolling Stone LLC, 181 Cal. App. 4th 664,
  26   692 (2010) (applying anti-SLAPP statute to appropriation of likeness claims).
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         The Court may strike portions of claims under Section 425.16. City of Colton v.
       Singletary, 206 Cal. App. 4th 751, 774 (2012) (“a portion of a cause of action may be
  28   stricken if it falls within anti-SLAPP protections”).

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   1   speech or activity was a person or entity in the public eye or could affect large
   2   numbers of people beyond the direct participants; and whether the activity occur[red]
   3   in the context of an ongoing controversy, dispute or discussion.” FilmOn.com Inc. v.
   4   DoubleVerify Inc., 7 Cal. 5th 133, 145 (2019) (cleaned up).
   5         The Ninth Circuit has held that courts “must construe . . . ‘issue of public
   6   interest’ in Section 425.16(e)(4) broadly” to include any “topic of widespread, public
   7   interest.” Hilton v. Hallmark Cards, 599 F.3d 894, 906 (9th Cir. 2010) (finding
   8   public interest in greeting card poking fun at socialite Paris Hilton); see also
   9   Traditional Cat Ass’n, Inc. v. Gilbreath, 118 Cal. App. 4th 392, 397–98 (2004)
  10   (online posts regarding cat breeding were in connection with a matter of public
  11   interest “[g]iven the controversy surrounding the parties’ dispute and its evident
  12   notoriety in the cat breeding community”). The fact that the content may also be
  13   entertaining does not change this result. See, e.g., Sarver v. Chartier, 813 F.3d 891,
  14   901–02 (9th Cir. 2016) (claims concerning a film fell within Section 425.16(e)(4));
  15   Tamkin v. CBS Broad., Inc., 193 Cal. App. 4th 133, 143 (2011) (same regarding
  16   television show). As in Sarver and Tamkin, the Series is speech, each cause of action
  17   arises from the Series, see, e.g., FAC ¶¶ 70, 84, 98, 111, 115, 121–123, and the public
  18   interest component of Section 425.16(e)(4) is easily satisfied.
  19         First, NXIVM is and was a controversial program, purportedly offering
  20   opportunities for self-help, while, in reality, serving as what the jury found to be a
  21   dangerous vehicle for oppressive conduct and sex trafficking. See FAC ¶¶ 33, 37;
  22   RJN, Ex. 2 [Dkt. 914] at 41. Courts will “broadly construe” what is considered an
  23   “ongoing controversy, dispute or discussion.” Cross v. Cooper, 197 Cal. App. 4th
  24   357, 383 (2011). The Ninth Circuit has held that a documentary series about “some
  25   of America’s most notorious gangs and the efforts of law enforcement working to
  26   stop them” was a matter of public interest. Doe v. Gangland Prods., Inc., 730 F.3d
  27   946, 951, 955 (9th Cir. 2013) (“Gangland”) (internal quotation marks removed). In
  28   Church of Scientology v. Wollersheim, 42 Cal. App. 4th 628 (1996), the court held

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   1   that matters of public interest can “include activities that involve private persons and
   2   entities” such as the activities of the Church of Scientology. Id. at 650–51 (noting
   3   that “media coverage” of the Church of Scientology supported a finding of public
   4   interest), disapproved on other grounds by Equilon Enters., 29 Cal. 4th at 68 n.5.
   5         NXIVM has long been a matter of public interest, and that interest only
   6   intensified following the 2017 sex trafficking revelations and subsequent criminal
   7   prosecutions of NXIVM’s leadership. FAC ¶¶ 33–37. From 1998 to 2018, NXIVM
   8   was a large, high-profile organization that operated trainings “internationally” with
   9   “thousands of NXIVM students,” all under the leadership and vision of Keith
  10   Raniere. FAC ¶¶ 20, 35, 53. NXIVM has garnered intense media attention, starting
  11   decades ago in local and national news but exploding following the 2017 sex
  12   trafficking revelations. See RJN Exs. 3, 4, see also FAC ¶ 33. As with the Church of
  13   Scientology, the significant media coverage supports a finding of public interest.
  14   Church of Scientology, 42 Cal. App. 4th at 450–51. And the high-profile federal
  15   prosecution to stop NXIVM and Raniere falls squarely in the public interest. See
  16   Gangland, 730 F.3d at 951, 955.
  17         Second, Plaintiff Marc Elliot is a limited purpose public figure and therefore a
  18   matter of public interest in his own right. To be clear, Defendants do not need to
  19   show “an independent public interest in Plaintiff’s identity.” Gangland, 730 F.3d at
  20   955 (Defendants did not need to show independent interest in anonymous plaintiff’s
  21   identity). 7 Nevertheless, Plaintiff and his activities are a matter of public interest, and
  22   the anti-SLAPP statute also applies to matters concerning public figures or “a person
  23   or entity in the public eye.” FilmOn.com, 7 Cal. 5th at 145. A plaintiff can reveal
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        See also M.G. v. Time Warner, 89 Cal. App. 4th 623, 629 (2001) (public interest did
       not need to be in specific victims of child molestation where “the general topic of
  26   child molestation in youth sports” was an issue of public interest); Terry v. Davis
       Community Church, 131 Cal. App. 4th 1534, 1547–48 (2005) (same for “broad topic”
  27   of “protection of children in church youth programs”); Tamkin, 193 Cal. App. 4th at
       144 (“We find no requirement in the anti-SLAPP statute that the plaintiff’s persona
  28   be a matter of public interest”).

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   1   himself to be “a person . . . in the public eye” by virtue of the allegations in his
   2   complaint. Nadel v. Regents of the Univ. of Calif., 28 Cal. App. 4th 1251, 1270
   3   (1994); see also Thomas v. Los Angeles Times Comms. LLC, 189 F. Supp. 2d 1005,
   4   1011 (C.D. Cal. 2002) (holding the same in the context of an anti-SLAPP motion).
   5   Plaintiff is a public figure in his own right, and also because he “thrust [himself] to
   6   the forefront of particular public controversies in order to influence the resolution of
   7   the issues involved.” Gertz v. Robert Welch, Inc., 418 U.S. 323, 345 (1974).
   8         Plaintiff describes himself as a “nationally recognized public speaker.” FAC
   9   ¶¶ 14–32. From 2010 to 2014, Plaintiff rose from being a NXIVM member to one
  10   of its leaders and was active on the inspirational speaker circuit. FAC ¶¶ 22–27.
  11   Once he assumed leadership levels within NXIVM, the group developed a special
  12   project under him, promoted his story to thousands of people who attended ESP
  13   trainings, filmed a documentary about how NXIVM changed his journey with
  14   Tourette’s, and promoted the documentary at international film festivals. FAC ¶¶
  15   27–32. Plaintiff consistently appeared in the public eye on behalf of NXIVM and
  16   acted as the face for NXIVM’s potential. See Thomas, 189 F. Supp. 2d at 1101.
  17         Third, Plaintiff’s prominent involvement in NXIVM, and his ongoing and
  18   outspoken support for NXIVM founder and convicted sex trafficker Keith Raniere,
  19   are also matters of public interest. FAC ¶¶ 36–37; RJN, Ex. 2 [Dkt. 925] at 33–36,
  20   Ex. 5. Plaintiff voluntarily inserted himself into the controversy surrounding
  21   NXIVM. Seelig v. Infinity Broad. Corp., 97 Cal. App. 4th 798, 807–08 (2002) (“[b]y
  22   having chosen to participate as a contestant” in reality tv show, “plaintiff voluntarily
  23   subjected herself to inevitable scrutiny”). Even where a person is only tangentially
  24   related to a famous person or entity, their activities can be a matter of public interest.
  25   Hall v. Time Warner, Inc., 153 Cal. App. 4th 1337, 1347 (2007) (public interest in
  26   Marlon Brando’s former housekeeper who was a beneficiary in his will).
  27         Since NXIVM officially closed operations, Plaintiff has continued to advocate
  28   publicly on behalf of Raniere and the organization. See FAC ¶¶ 36, 37; see also RJN,

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   1   Ex. 5. Plaintiff advocated in favor of reducing Raniere’s sentence. RJN, Ex. 2 [Dkt.
   2   925] at 33–36, Ex. 5. Plaintiff has thrust himself into the forefront of controversies
   3   surrounding both NXIVM and Raniere’s criminal conviction, and thereby voluntarily
   4   subjected himself to increased scrutiny. See Gertz, 418 U.S. at 345; Seelig, 97 Cal.
   5   App. 4th at 807–08.
   6         Any of the foregoing is a more significant topic of public interest than a
   7   greeting card poking fun at socialite Paris Hilton. Hilton, 599 F.3d at 906 (finding
   8   public interest under anti-SLAPP statute). Defendants satisfy step one in the analysis.
   9   V.    PLAINTIFF CANNOT SATISFY HIS BURDEN ON THE SECOND
  10         STEP IN THE ANTI-SLAPP ANALYSIS.
  11         “If the defendant meets its burden, the burden shifts to plaintiff to demonstrate
  12   a probability of prevailing on the merits of each of plaintiff’s claims.” Gangland, 730
  13   F.3d at 953. Plaintiff cannot satisfy his burden on step two for multiple independent
  14   reasons, and his claims should therefore be stricken without leave to amend.
  15         A.     Plaintiff’s Two Defamation Claims Fail as a Matter of Law.
  16         Plaintiff’s first cause of action for defamation per se and his second cause of
  17   action for defamation by implication both fail for multiple reasons.
  18                1.   Defendants Neither Directly Published Nor Reasonably Implied
  19                     Anything Defamatory About Plaintiff.
  20         A review of the FAC and the judicially noticeable Series reveals that
  21   Defendants made no defamatory statements or implications about Plaintiff.
  22         Publication is an element of a defamation claim. Wong v. Tai Jing, 189 Cal.
  23   App. 4th 1354, 1369 (2010). Plaintiff’s FAC does not allege that the Series directly
  24   published any purportedly defamatory statements about Plaintiff. See generally FAC.
  25   For example, nowhere does the Series expressly call Plaintiff a potential murderer or
  26   rapist. Id. And the FAC makes no such allegations. In all circumstances, Plaintiff
  27   alleges that the purportedly harmful communications about Plaintiff stem from
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   1   implications created by the Series. See id. at ¶¶ 2, 40, 41, 43, 45, 46, 51, 57, 59, 62.
   2   However, the implications alleged by Plaintiff are not reasonable as a matter of law.
   3         The United States Supreme Court recognizes “a profound national commitment
   4   to the principle that debate on public issues should be uninhibited, robust and wide-
   5   open[.]” New York Times Co. v. Sullivan, 376 U.S. 254, 270 (1964). For this reason,
   6   courts set a very high standard for showing that a defamatory implication reasonably
   7   can be found. For example, in Forsher v. Bugliosi, 26 Cal. 3d 792, 803 (1980), the
   8   book Helter Skelter, recounted the infamous Manson Family murders and suggested
   9   that Manson’s followers carried out retaliatory murders after Manson’s incarceration,
  10   including the murder of Ronald Hughes. The book asserted that the plaintiff and his
  11   female companion drove Hughes to a desolate campground near where he was later
  12   found murdered; that the police never verified plaintiff’s alibi; and that the plaintiff’s
  13   companion later was murdered, too, in part because she knew too much about
  14   Hughes’ killing. Id. at 796–802. Although the book repeatedly named the plaintiff
  15   and seemingly linked him to the murder, the California Supreme Court held that “the
  16   book neither expressly nor by fair implication charges [the plaintiff] with killing or
  17   aiding or abetting the killing of Hughes.” Id. at 805. Courts “must refrain from
  18   scrutinizing what is not said to find a defamatory meaning which the [publication]
  19   does not convey to a lay reader.” Id. at 803 (cleaned up).
  20         The California Court of Appeal also rejected a defamation-by-implication
  21   claim in Alszeh v. Home Box Office, 67 Cal. App. 4th 1456 (1998). In Alszeh,
  22   plaintiff operated a business with a partner with the nickname “Cookie.” Id. at 1459.
  23   The partnership dissolved and Cookie went on to start a business called “J & J
  24   Beepers,” and plaintiff began doing business as “J & J The King of Beepers.” Id. In
  25   a television documentary, someone tells a producer that “a person named Cookie,”
  26   who “‘operates’ a beeper store called ‘J & J Beep,’” and harmed people. Id. at 1459,
  27   1461-62. The documentary shows the producer searching for “Cookie,” and while he
  28   is doing so, the video shows one of plaintiff’s billboards “which displays the title ‘J &

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   1   J King of Beepers,’” and focuses briefly on plaintiff’s face while the producer
   2   narrates, “With Cookie on my mind, I imagined I saw him everywhere.” Id. at 1462.
   3   Plaintiff sued for libel. Despite the video editing, the court ruled that “the
   4   documentary, taken as a whole, does not support the reasonable inference that”
   5   plaintiff was “Cookie.” Id. at 1463.
   6         In another case, the California Court of Appeal emphasized that a “defamatory
   7   statement must be found, if at all, in a reading of the publication as a whole,” as
   8   “[d]efamation actions cannot be based on snippets taken out of context.” Balzaga v.
   9   Fox News Network, LLC, 173 Cal. App. 4th 1325, 1338 (2009) (internal quotation
  10   marks omitted). In Balzaga, a news segment showed a “Wanted” poster with the
  11   plaintiffs’ photos and the caption “MANHUNT AT THE BORDER,” which the
  12   plaintiffs alleged falsely implied that they were “wanted” by law enforcement. Id. at
  13   1329. “To establish a defamation in this case,” the court held, “plaintiffs had the
  14   burden of making a predicate showing the caption meant that police officials were
  15   conducting a manhunt for plaintiffs.” Id. at 1342. The court stated that “when the
  16   alleged false statement is contained in a television broadcast, the court must examine
  17   the statement in the context with the remainder of the news report to determine if it
  18   has the meaning attributed to it by the plaintiff.” Id. at 1339. And, the court held,
  19   “[i]f no reasonable viewer could have reasonably understood the statement in the
  20   alleged defamatory sense, the matter may be decided as a question of law.” Id.
  21   Applying those principles, the court concluded that “a person who viewed the Fox
  22   News broadcast would not have reasonably concluded that law enforcement officers
  23   were conducting a ‘manhunt’ for plaintiffs.” Id. “The story,” the court continued,
  24   “was not a single photograph; rather it was a four-minute telecast of many different
  25   images and concepts. The audio did not contain any suggestion that the police were
  26   conducting an organized search for [plaintiffs] at the border.” Id. at 1340. Since the
  27   plaintiffs failed to substantiate, as a matter of law, that their interpretation of the
  28   broadcast could reasonably be implied, the trial court granted and the Court of Appeal

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   1   affirmed, Fox News’s anti-SLAPP motion, concluding that “a defamation claim fails
   2   as a matter of law if the publication is not reasonably susceptible of a defamatory
   3   meaning and cannot be reasonably understood in the defamatory sense pleaded by the
   4   plaintiffs.” Id. at 1342–43 (cleaned up); see also Monterey Plaza Hotel v. HERE
   5   Local 483, 69 Cal. App. 4th 1057, 1065 (1999) (also affirming the grant of an anti-
   6   SLAPP motion because “when the challenged statement is considered within the
   7   context of the entire broadcast, no reasonable viewer could have reasonably
   8   interpreted it in such a way”).
   9         Plaintiff takes issue not with the accuracy of the Series or any association with
  10   Raniere’s crimes but instead with the editing and commentary from outside experts
  11   that critique NXIVM’s ideology. The Series does not name or show Plaintiff during
  12   the segments about criminal conduct. RJN, Ex. 1; Cf. FAC ¶ 40. Indeed, Plaintiff
  13   cannot point to a single false statement about him personally—there is no dispute that
  14   he was a member of NXIVM and involved in recruitment to NXIVM. See FAC ¶¶
  15   26–32; RJN, Ex. 5; Cf. FAC ¶ 40. Rather, he claims that a total of 45 seconds where
  16   he appeared in the Series were “misleading” and “insinuate[d]” Plaintiff was
  17   “equated” to negative characters and aspects of NXIVM. FAC ¶ 2. Plaintiff
  18   overreaches to read unreasonable implications into the Series.
  19         First, the implication Plaintiff alleges regarding his testimonial on “how to
  20   relate to women” is unreasonable. FAC ¶¶ 40–45. Plaintiff takes issue with the fact
  21   that his testimonial praising NXIVM’s gender training directly follows clips of
  22   Raniere discussing male “impulses” in a vulgar manner. FAC ¶¶ 43–45. He alleges
  23   that a segment editing together testimonials and excerpts from NXIVM’s trainings on
  24   gender roles “imply that Plaintiff supported and encouraged sexual violence and
  25   misconduct against women.” FAC ¶ 45.
  26         Such an implication is unreasonable. Plaintiff’s testimonial is depicted in an
  27   obviously separate setting: outside, in a formal interview, during the day. See RJN,
  28   Ex. 1, Ep. 2 at 20:24. The clips of Raniere discussing “primitive” “beasties” who

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   1   want to “conquer a woman” are depicted indoors, at night, during a session. Id. at
   2   20:12. It is unreasonable to claim that the editing implies that Plaintiff was directly
   3   referring to Raniere’s “conquer a woman” comments. In Plaintiff’s own words, his
   4   takeaway was “how to relate to women,” a topic the Series also addresses in the
   5   minutes before Plaintiff’s clip. See RJN, Ex. 1, Ep. 2 at 13:18, 20:24. Even
   6   Plaintiff’s own allegations reflect that Plaintiff attended NXIVM’s various gender
   7   trainings, had a positive takeaway from his training, and remained an active advocate
   8   of NXIVM afterward. See FAC ¶¶ 35–37, 42. The segment on gender role trainings
   9   began with other men’s testimonials and closed with Plaintiff’s, reflecting positive
  10   reactions to NXIVM’s gender trainings. See RJN, Ex. 1, Ep. 2 at 13:18, 20:24.
  11           Nor is it reasonable to draw an implication that by simply depicting an
  12   individual attending a training on Raniere’s theories of man’s nature the Series is
  13   implying that the individual “supported sexual violence and misconduct against
  14   women” or “equate[s]”to being a “rapist.” Cf. FAC ¶¶ 44, 84. The Series took
  15   excerpts of Raniere’s actual words to demonstrate his gendered ideology, and later
  16   covered how Raniere did, in fact, sexually abuse women, an offense for which he is
  17   now serving 120 years in federal prison. FAC ¶ 44.8 The Series accurately portrayed
  18   Raniere as an abuser—it made no implications about Plaintiff.
  19           Second, Plaintiff’s allegation that expert opinion commentary on indoctrination
  20   techniques implies Plaintiff is “the likes of ISIS and Al-Qaeda” is unreasonable.
  21   FAC ¶ 50. The segment following Plaintiff’s testimonial clip shifts to expert
  22   commentary discussing how groups “foster obedience.” FAC ¶ 46; see RJN, Ex. 1,
  23   Ep. 2 at 20:36. Interspersed with images of the experts are clips of a NXIVM gym
  24   training with men (not including Plaintiff) hitting each other in the face, along with a
  25   clip of an ISIS child soldier discussing how he and his comrades were forced to
  26   “beat[] each other” to build strength. RJN, Ex. 1, Ep. 2 at 2:57, 21:01. Plaintiff is not
  27
  28
       8
           Even so, the FAC never decries Raniere’s wrongs, only Defendants’ video editing.

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   1   shown at all in the segment discussing ISIS and Al-Qaeda. There is no reasonable
   2   implication that Plaintiff himself is being equated with terrorists or their actions.
   3         Third, it is unreasonable to read an implication that the criticisms of former Dr.
   4   Porter’s “fright experiments” extended to Plaintiff. Porter was originally brought to
   5   NXIVM to see “how well the curriculum was working,” and the FAC alleges that
   6   Plaintiff worked with Porter to help people with Tourette’s, and they had “great
   7   success doing so.” FAC ¶ 51; RJN, Ex. 1, Ep. 2 at 29:43. As a counterbalance, the
   8   Series goes on to describe Porter’s other work with NXIVM that kept getting “more
   9   and more extreme”: “fright experiments” that subjected women to gruesome videos,
  10   including actual footage of a cartel dismembering five women. RJN, Ex. 1, Ep. 2 at
  11   30:54. The expert opinion commentary in the Series expressing horror at the
  12   unethical experiments, drawing parallels to Nazi doctors, refers only to Porter’s
  13   “fright experiments.” The commentary does not refer to Plaintiff or his Tourette’s
  14   work as “horrific” or “unconscionable” and does not state or imply that Plaintiff
  15   knew about or supported Porter’s “fright experiments.” RJN, Ex. 1, Ep. 2 at 31:35.
  16   In the epilogue to Episode Four, the Series notes that Porter has since had his medical
  17   license revoked. RJN, Ex. 1, Ep. 4 at 1:18:21; Ex. 6 (NY State license record).
  18         Fourth, it is unreasonable to claim that a clip showing Plaintiff standing in the
  19   audience of a Raniere seminar implies that he was “receiving orders from Raniere to
  20   kill someone and that such actions are justified” much less that Raniere is “giving
  21   Plaintiff specific instructions to kill someone specifically.” FAC ¶¶ 58–59 (emphasis
  22   added). As Plaintiff alleges, the Series introduces the segment as being an “Ethicist
  23   Course” seminar, examining why someone might condone violent acts if they had
  24   certain goals. RJN Ex. 1, Ep. 2 at 39:44; Cf. FAC ¶¶ 55, 58. Viewed as a whole, it is
  25   unreasonable to allege that the segment implies that Plaintiff is receiving direct orders
  26   to kill. It is framed as a seminar on ethics, and Plaintiff is briefly seen as just one of
  27   many audience members listening to Raniere, not an individual receiving direct
  28   orders to kill. RJN Ex. 1, Ep. 2 at 39:44, 38:35.

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   1         Fifth, it is unreasonable to allege that drawing parallels between NXIVM and
   2   other cult-like organizations implied that Plaintiff himself would “commit murder or
   3   suicide.” FAC ¶ 62. As Plaintiff alleges, the Series shows various experts pondering
   4   where Raniere was “really leading” NXIVM and raising concerns about the actions of
   5   past cult-like groups with leaders who demanded fierce loyalty. RJN, Ex. 1, Ep. 2 at
   6   40:34; Cf. FAC ¶ 59. Plaintiff is not shown or named in this montage. The segment
   7   is sharing the viewpoints of various experts who have studied other cult-like
   8   groups—like the Branch Davidians of Waco and Heaven’s Gate—drawing parallels
   9   between Raniere’s coaching and early-stage actions those groups’ leaders. See id. at
  10   40:14. However, it is unreasonable to read into this speculation about Raniere’s
  11   intentions an implication that Plaintiff was therefore “a potential murderer on
  12   command” who was being trained “to kill someone specifically.” FAC ¶¶ 59, 84.
  13         Plaintiff’s implication claims draw conclusions from 45 seconds of four hours
  14   of video that, in context, convey different meanings than what Plaintiff alleges. The
  15   implications that Plaintiff claims are simply not reasonably supported by the content
  16   of the Series. While Plaintiff may not like that he was briefly shown in the Series,
  17   “[d]efamation actions cannot be based on snippets taken out of context.” Balzaga,
  18   173 Cal. App. 4th at 1338. The purported implications here are even more
  19   unreasonable than those rejected as a matter of law in Forsher, Alszeh and Balzaga.
  20                2.   The Purportedly Defamatory Implications Are Not “Of and
  21                     Concerning” Plaintiff Directly or by “Clear Implication.”
  22         A defamation plaintiff cannot “constitutionally establish liability” unless the
  23   statements at issue are “of and concerning” him either by name or by “clear
  24   implication.” Blatty v. New York Times Co., 42 Cal. 3d 1033, 1042–44 (1986);
  25   Ferlauto v. Hamsher, 74 Cal. App. 4th 1394, 1404 (1999) (same). Here, the
  26   purportedly defamatory implications fail because, even if they exist in some form,
  27   they are not directly or by “clear implication” about or “of and concerning” Plaintiff.
  28   The first statement about men’s “primitive” need to “conquer” women reflects poorly

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   1   on convicted sex trafficker Raniere. FAC ¶ 44. There is no “clear implication” that
   2   Plaintiff endorses Raniere’s comments about “sexual violence against women.”
   3   Compare RJN, Ex. 1 with FAC ¶¶ 70(I), 84. Likewise, there is no “clear implication”
   4   that Plaintiff accepted and followed Raniere’s alleged “orders” to “kill someone” or
   5   become a “potential murderer on command.” Compare RJN, Ex. 1 with FAC ¶¶
   6   70(V), 84. Similarly, the opinions offered from cult experts about “cult
   7   indoctrination,” “weapon[izing]” followers and Nazi experimentation are not, by
   8   clear implication, about Plaintiff. Compare RJN, Ex. 1 with FAC ¶¶ 70(II, III, IV),
   9   84. Rather, they are about Raniere and Porter. For this additional, constitutionally
  10   based reason, Plaintiff’s defamation claims must fail.
  11                3.   Even if the Purported Implications Concerned Plaintiff, the
  12                     Defamation Claims Still Fail as a Matter of Law.
  13         Defendants maintain that there are no express or implied defamatory
  14   statements about Plaintiff in the Series. If, however, the Court concludes that some
  15   or all of the purported implications are both reasonable and clear, Plaintiff’s
  16   defamation claims still fail as a matter of law.
  17                       a.    The Alleged Implications Are Not Actionable Because
  18                             They Do Not Convey Verifiable Statements of Fact.
  19         The U.S. Supreme Court has made clear that the First Amendment limits
  20   defamation plaintiffs to complaints about verifiable facts. Milkovich v. Lorain
  21   Journal Co., 497 U.S. 1, 20 (1990). Statements that “cannot ‘reasonably [be]
  22   interpreted as stating actual facts about an individual” are not actionable. Id. (quoting
  23   Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 50 (1988)). “‘[R]hetorical
  24   hyperbole,’ ‘vigorous epithet[s],’ ‘lusty and imaginative expression[s] of contempt,’
  25   and language used ‘in a loose, figurative sense’ have all been accorded constitutional
  26   protection.” Ferlauto, 74 Cal. App. 4th at 1401 (citing Greenbelt Publ. Assn. v.
  27   Bresler, 398 U.S. 6, 13–14 (1970); Letter Carriers v. Austin, 418 U.S. 264, 284, 286
  28   (1974)). Indeed, “[e]ven if they are objectively unjustified or made in bad faith,

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   1   publications which are statements of opinion rather than fact cannot form the basis
   2   for a libel action.” Campanelli v. Regents of Univ. of Calif., 44 Cal. App. 4th 572,
   3   578 (1996) (emphasis in original).
   4         The issue of whether a statement is a factual assertion or nonactionable opinion
   5   or hyperbole “is a question of law to be decided by the court.” Baker v. Los Angeles
   6   Herald Examiner, 42 Cal.3d 254, 260 (1986); see also Herring Networks, 8 F.4th at
   7   1157 (same); Info. Control Corp. v. Genesis One Comput. Corp., 611 F.2d 781, 783
   8   (9th Cir. 1980) (“The determination of whether an allegedly defamatory statement is
   9   a statement of fact or statement of opinion is a question of law.”).
  10         The Ninth Circuit employs a three-part test to determine whether a statement
  11   implies a factual assertion or merely conveys protected opinion or hyperbole.
  12   Underwager v. Channel 9 Australia, 69 F.3d 361, 366 (9th Cir. 1995); see also
  13   Partington v. Bugliosi, 56 F.3d 1147, 1153 (9th Cir. 1994). First, the court must
  14   examine the statements in their “broad context, which includes the general tenor of
  15   the entire work, the subject of the statements, the setting, and the format of the work.”
  16   Underwager, 69 F.3d at 366. Second, the court must examine the “specific context
  17   and content of the statements, analyzing the extent of figurative or hyperbolic
  18   language used and the reasonable expectations of the audience in that particular
  19   situation.” Id. Third, the court must examine “whether the statement itself is
  20   sufficiently factual to be susceptible of being proved true or false.” Id. If a
  21   “reasonable factfinder” could not conclude that the contested statement “implies an
  22   assertion of objective fact” then the defamation claim “is foreclosed by the First
  23   Amendment.” Herring Networks, 8 F.4th at 1153, 1157 (granting anti-SLAPP
  24   motion as a matter of law where the defendants’ broadcast stated that the plaintiff
  25   “really literally [was] paid Russian propaganda”). Under this strict constitutional test,
  26   Plaintiff’s defamation claims are barred.
  27   ///
  28

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   1                             i.    The Broad Context of the Series.
   2         The broad context and general tenor of the Series favors a finding that the
   3   allegedly defamatory implications are not actionable. “‘Where potentially
   4   defamatory statements are published in a . . . setting in which the audience may
   5   anticipate efforts by the parties to persuade others to their positions by use of epithets,
   6   fiery rhetoric or hyperbole, language which generally might be considered as
   7   statements of fact may well assume the character of statements of opinion.’”
   8   Ferlauto, 74 Cal. App. 4th at 1401–02. Indeed, the use of “epithets, fiery rhetoric or
   9   hyperbole,” and “colorful commentary,” even on a news show, supports a finding of
  10   non-actionability, and “negates the impression that [the speaker] impl[ied] a false
  11   assertion of fact.” Herring Networks, 8 F.4th at 1157–58 (quoting Info. Control
  12   Corp., 611 F.2d at 784 and Partington, 56 F.3d at 1154). Here, the Series is a
  13   documentary exposé focusing on the experiences of India Oxenberg as a vehicle to
  14   reveal and criticize the inner workings and nefarious dealings of NXIVM as a cult-
  15   like organization. See generally RJN, Ex. 1. The Series is unabashedly critical of
  16   NXIVM and its leaders and builds to a climax where several of the leaders are
  17   prosecuted and convicted of serious crimes. Id. While the Series occasionally gives a
  18   nod to those, like Plaintiff, who extol NXIVM’s benefits, see, e.g., FAC ¶¶ 20–32,
  19   the broad context and general tenor of the Series treats NXIVM harshly with first
  20   person accounts of the damage it caused. See Partington, 56 F.3d at 1154 (critical
  21   accounts of controversial trial lend themselves to finding of non-actionable opinion).
  22                            ii.    The Specific Context of the Material at Issue.
  23         The specific context of the allegedly defamatory implications also supports a
  24   finding of non-actionability. “Loose, figurative [and] hyperbolic” language supports
  25   the conclusion that a statement is constitutionally protected. Milkovich, 497 U.S. at
  26   21. Courts must look at the language to discern whether the specific context for the
  27   publication is “figurative or hyperbolic.” Underwager, 69 F.3d at 367. Here, the
  28   alleged implications are all presented as opinions – sometimes interlaced with

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   1   epithets, fiery rhetoric, hyperbole and colorful commentary – about NXIVM. Four of
   2   the five alleged implications are connected to people identified as experts on cults,
   3   and their opinions about NXIVM. See, e.g., FAC ¶¶ 46–48 (quoting “‘cult experts’”
   4   Rick Ross and Steven Hassan likening NXIVM’s “mind-control” techniques to those
   5   used by “ISIS and Al-Qaeda”), ¶ 51 (quoting another “‘cult expert,’ Dr. Janja
   6   Lalich,” referencing Nazi experimentation when discussing NXIVM’s Porter), ¶¶ 56–
   7   57 (Ross’ further reference to NXIVM’s destructive methods), ¶ 70 (II–V). See
   8   Partington, 56 F.3d at 1156 (“‘[I]f it is plain that the speaker is expressing a
   9   subjective view, an interpretation, a theory, conjecture, or surmise, rather than
  10   claiming to be in possession of objectively verifiable facts, the statement is not
  11   actionable.’”). The Series features professed experts to opine as to why they view
  12   NXIVM as dangerous. See NXIVM Corp. v. Sutton, 2007 WL 1876496 (D.N.J. June
  13   27, 2007), at *12 (holding that readers would understand Ross’ critiques of NXIVM
  14   offer particular viewpoints). In doing so, the experts are making fiery, rhetorical –
  15   and admittedly hyperbolic – references to some of the world’s worst organizations of
  16   the last century: the Nazis, ISIS and Al-Qaeda. NXIVM, in turn, is depicted in the
  17   Series as declaring at least one of the experts, Ross, as a “devil” and a “suppressive,”
  18   which is “the worst possible thing that can occur.” RJN, Ex. 1, Ep. 2 at 32:14. The
  19   fifth allegedly defamatory implication references Raniere’s “lusty and imaginative
  20   expressions of contempt” for women. Ferlauto, 74 Cal. App. 4th at 1401 (quoting
  21   Letter Carriers, 418 U.S. at 286). While misogynistic, Raniere’s comments are his
  22   impression of what the “primitive parts” of men want. FAC ¶ 70(I).
  23                           iii.    The Language of the Material at Issue.
  24         Even if Raniere’s and the experts’ statements can be understood to imply
  25   qualities about Plaintiff – which Defendants dispute is reasonable or clear as a matter
  26   of law – the language itself is not to be taken literally as being provably true or false.
  27   There is no verifiable statement or implication that Plaintiff is a Nazi. In Koch v.
  28   Goldway, 817 F.2d 507, 508–10 (9th Cir. 1987), the Ninth Circuit rejected a

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   1   defamation claim where the defendant suggested that his political opponent was
   2   actually a missing Nazi war criminal by the same name. The court held the
   3   suggestion was rhetorical hyperbole. Here, the expert’s analogy of former Dr. Porter
   4   to Nazi doctors is not meant to suggest Porter is a Nazi (and not at all meant to apply
   5   to Plaintiff), nor is the reference to ISIS or Al-Qaeda meant to be a literal, verifiable
   6   label. See also Buckley v. Littell, 539 F.2d 882, 893–95 (2d Cir. 1976) (holding that
   7   the term “fascist” could not be regarded as a statement of fact); Moyer v. Amador
   8   Valley Jt. Union High Sch. Dist., 225 Cal. App. 3d 720, 724–26 (1990) (statements
   9   that express “subjective judgment by the speaker,” including that the plaintiff
  10   “terrorized” others, are not actionable). In NXIVM, a federal court in New Jersey
  11   dismissed NXIVM’s trade disparagement claim on a Rule 12(c) motion, holding that
  12   “when an individual states or opines that a group constitutes a ‘cult’ or is ‘cult-like,’
  13   no verifiable fact is communicated to the listener or reader.” 2007 WL 1876496 at
  14   *11. Here, the experts’ low opinions of NXIVM and Raniere’s desires to
  15   “weaponize” his followers, as well as Raniere’s opinions of the “primitive parts” of
  16   men, are not presented as verifiable facts. Even if they could be applied to Plaintiff –
  17   which is neither reasonable nor clear – they are still presented as constitutionally
  18   protected opinions or hyperbole critical of those who support NXIVM’s methods.
  19         Finally, even if there were such a literal analogy (there is not) the broad and
  20   specific contexts still support a finding of non-actionability. In Herring Networks,
  21   the plaintiff was undisputedly accused by Defendants of “really literally [being] paid
  22   Russian propaganda” during a news segment. 8 F.4th at 1153. Nevertheless, the
  23   Ninth Circuit held that the broad and specific contexts supported a finding that the
  24   statement was rhetorical hyperbole and therefore not actionable. Id. at 1160.
  25         Under the Ninth Circuit’s three-part test, none of the alleged implications –
  26   even if they were found to exist – can support a cause of action for defamation here.
  27         B.     Plaintiff’s Ancillary Claims Also Fail as a Matter of Law.
  28         Plaintiff’s ancillary claims for false light, intentional infliction of emotional

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   1   distress and appropriation of name and likeness also fail as a matter of law.
   2                1.   The Ancillary Claims Are Duplicative and Must Be Dismissed.
   3         When “claims for invasion of privacy and emotional distress are based on the
   4   same factual allegations as those of a simultaneous libel claim, they are superfluous
   5   and must be dismissed.” Couch v. San Juan Unif. Sch. Dist., 33 Cal. App. 4th 1491,
   6   1504 (1995) (emphasis added); see also Rudwall v. BlackRock, Inc., 289 Fed. Appx.
   7   240, 241 (9th Cir. 2008) (same, quoting Couch). For example, in Couch, the court
   8   dismissed false light and emotional distress claims that were based on the same
   9   allegedly tortious conduct as a simultaneous defamation claim. Couch, 33 Cal. App.
  10   4th at 1504. Here, Plaintiff’s two invasion of privacy claims and his claim for
  11   intentional infliction of emotional distress (“IIED”) are based on the same underlying
  12   facts as his defamation claims. Compare FAC ¶¶ 70–96 (defamation claims) with id.
  13   ¶¶ 98, 100–103 (appropriation claim based on allegedly “defamatory” statements and
  14   implications in Series using his name and image, which are purportedly harming his
  15   “reputation”), ¶¶ 111–116 (false light claim is based on allegedly “false” material that
  16   is the same as the bases for the defamation claims), ¶¶ 121–124 (IIED claim is based
  17   on the same allegedly “defamatory content” and “defamatory statements”).
  18   Plaintiff’s ancillary claims are duplicative and must be dismissed.
  19                2. The Ancillary Claims Fail Because the Defamation Claims Fail.
  20         The First Amendment circumscribes “all claims whose gravamen is the alleged
  21   injurious falsehood of a statement.” Blatty, 42 Cal. 3d at 1042–43 (emphasis added).
  22   Thus, “[t]he collapse of the defamation claim spells the demise of all other causes of
  23   action in the same complaint which allegedly arise from the same publication.”
  24   Gilbert, 147 Cal. App. 4th at 34 (emphasis added) (dismissing defamation and IIED
  25   claims). This is because, “liability cannot be imposed on any theory for what has
  26   been determined to be a constitutionally protected publication.” Reader’s Digest
  27   Assn. v. Super. Ct., 37 Cal.3d 244, 265 (1984) (emphasis added) (dismissing
  28   defamation, false light and IIED claims on the same constitutional grounds). Plaintiff

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   1   cannot avoid the strictures of the defamation claims by pleading alternative causes of
   2   action. Just as the defamation claims fail, so, too, must the ancillary claims.
   3                3. The “Appropriation” Claim Also Fails for Independent Reasons.
   4         Plaintiff does not articulate if his third cause of action for “appropriation of
   5   name or likeness” is a statutory or common law claim, but it fails in either event.
   6                     a.        The Series Is an Expressive, Not Commercial, Work.
   7         A plaintiff alleging common law and/or statutory misappropriation of likeness
   8   under California Civil Code § 3344 is required to “establish a direct connection
   9   between the use of [her] name or likeness and a commercial purpose.” Polydoros v.
  10   Twentieth Cent. Fox Film Corp., 67 Cal. App. 4th 318, 322 (1997) (emphasis in
  11   original); see also Civ. C. § 3344(a). 9 Claims for misappropriation of image will not
  12   stand in California unless the image was used “exclusively for … commercial gain.”
  13   Leidholt v. L.F.P., Inc., 860 F.2d 890, 895 (9th Cir. 1988) (emphasis added); see also
  14   Brewer v. Hustler Magazine, Inc., 749 F.2d 527, 530 (9th Cir. 1984) (Civil Code §
  15   3344 “is limited to appropriation for purposes of advertising or solicitation of
  16   purchases”). Expressive material does not lose its heightened protections merely
  17   because it is sold for a profit. See, e.g., Leidholt, 860 F.2d at 895 (“the fact that [a
  18   magazine] is operated for a profit does not extend a commercial purpose to every
  19   article within it”). Plaintiff’s third cause of action is based on Defendants’ use of his
  20   likeness and name “in their series.” FAC ¶ 98; see also id. ¶ 101. Such uses serve an
  21   expressive, not a commercial purpose, and cannot support a misappropriation claim.
  22                          b.    Defendants’ Uses Are Protected Speech.
  23         Civil Code § 3344 contains an important exception: “a use of a . . . likeness in
  24   9
         The U.S. Supreme Court defines commercial speech as that which “does ‘no more
  25   than propose a commercial transaction.’” Va. State Bd. v. Va. Citizens Consumer
       Council, Inc., 425 U.S. 748, 762 (1976); Central Hudson Gas & Elec. Co. v. Public
  26   Serv. Comm’n, 447 U.S. 557, 561 (1980) (defining commercial speech as “expression
       related solely to the economic interests of the speaker and its audience”). “If speech
  27   is not ‘purely commercial’ – that is, if it does more than propose a commercial
       transaction – then it is entitled to full First Amendment protection.” Mattel, Inc. v.
  28   MCA Records, Inc., 296 F.3d 894, 906 (9th Cir. 2002).

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   1   connection with any . . . public affairs . . . shall not constitute a use for which consent
   2   is required.” Cal. Civ. C. § 3344(d). Similarly, under California’s common law
   3   cause of action for commercial misappropriation “a defense under the First
   4   Amendment is provided where the publication or dissemination of matters is ‘in the
   5   public interest.’” Daly v. Viacom, Inc., 238 F. Supp.2d 1118, 1122 (N.D. Cal. 2002);
   6   see also Montana v. San Jose Mercury News, Inc., 34 Cal. App. 4th 790, 793 (1995)
   7   (“[l]ike the common law cause of action, the statutory cause of action specifically
   8   exempts from liability the use of a name or likeness in connection with the reporting
   9   of a matter in the public interest”). Civil Code § 3344(d)’s “public affairs” exception
  10   and the common law’s “public interest” exception are both given wide latitude in
  11   order to protect free expression. Baugh v. CBS, Inc., 828 F. Supp. 745, 754 (N.D.
  12   Cal. 1993) (emphasis added). In “cases involving common law privacy and
  13   appropriation,” as well as Civil Code § 3344(d)’s immunity for matters of “public
  14   affairs,” there exists a protection for what “‘the public is interested in and
  15   constitutionally entitled to know about,’” such as “‘things, people, and events that
  16   affect it.’” Id. For example, the Ninth Circuit recognized the immunity for a
  17   documentary television series on gangs in Gangland, 730 F.3d at 960–61, and the
  18   Court of Appeal recognized it for surfing, Dora v. Frontline Video, Inc., 15 Cal. App.
  19   4th 536, 544–45 (1993), and baseball, Gionfriddo v. Major League Baseball, 94 Cal.
  20   App. 4th 400, 405–06 (2001). Here, the Series’ discussion of NXIVM is likewise
  21   protected speech on matters of public interest and public affairs. See Section IV,
  22   infra. For that additional reason, Plaintiff’s third cause of action fails.
  23   VI.   CONCLUSION
  24         For the foregoing reasons, Defendants respectfully request that their anti-
  25   SLAPP motion be granted with prejudice and without leave to amend.
  26   Dated: February 9, 2022                JASSY VICK CAROLAN LLP
  27                                                       /s/ Jean-Paul Jassy
  28                                          Jean-Paul Jassy, Counsel for Defendants

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                                                                   SPECIAL MOTION TO STRIKE FAC
